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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

XIONGEN JIAO, QIANJU JIAO,                        §
ZHONGHUA YU, JIATONG YU,                          §
PENGFEI ZHOU & XUANMEI ZHOU,                      §
Plaintiffs,                                       §
                                                  §
vs.                                               §       Case No.: 4:19-CV-01848
                                                  §
NINGBO XU, an individual, and                     §
LCL COMPANY, LLC, a Texas                         §
Limited Liability Company,                        §
Defendants,                                       §
                                                  §
DONGTAI INVESTMENT GROUP, a                       §
Texas Limited Liability Company,                  §
Nominal Defendant.                                §


                        PLAINTIFFS’ OBJECTION TO CLAIM NO. 10
                        FILED BY PROPERTY CARE SERVICES LLC


       COME NOW, Xiongen Jiao, Qianju Jiao, Zhonghua Yu, Jiatong Yu, Pengfei Zhou and

Xuanmei Zhou, Plaintiffs and Receivership Claimants (the “Plaintiffs”) herein, and file this, their

Reply to the Response to Objection to Claim No. 10 Filed by Property Care Services LLC (the

“Claim”). In doing so, they would show this Honorable Court as follows:

                                                      I
                                       NO CONTRACT EXISTS

       Property Care Services LLC (“Property Care”) is owned and operated by Carlos Campos,

who was also employed (and still is) as the chief maintenance employee of the Crowne Plaza

Hotel (the “Hotel”). Campos was employed to maintain the Hotel and act according to industry

standards. Campos was employed by the Hotel as Director Engineering and was employed in

this position throughout COVID. Further, payroll records for the Hotel indicate that Mr. Campos

was employed by the hotel and receiving a salary from the hotel and there are no documents


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which indicate that Campos was authorized to contract out work to Property Services LLC nor

do any documents exist between the Hotel and Property Care for work to be performed.

Additionally, Campos claims he was terminated from employed in 2020 due to the COVID

crisis. However, this is likely not the case. During this time, it was a common situation for

hotels which temporarily suspended operations during the pandemic to preserve capital by not

incurring any unnecessary expenses, such as contracting cleaning work to a third parties. See

Exhibit 2, ¶¶ 7 and 10, Declaration of Dilip Kanji.

       Campos makes the claim that no written contract is needed for the type of work done

because an oral contract is sufficient. However, the industry standard is that a chief maintenance

employee or Director of Engineering may not contract work out to themselves in the hospitality

industry without a written contract between the parties. See Exhibit 2, ¶¶ 9 and 11. Moreover, a

written agreement for this type of work, especially with financial costs related to such work,

necessitate written consent of the hotel owner/manager, is the standard practice followed and

outlined in the manuals and guidelines of the hospitality industry. See Exhibit 2, ¶ 13.

                                           II
                          UDAYAN LACKED CONTRACTUAL AUTHORITY

       Claimant argues that the Hotel Management Agreement (“HMA”) between Ameristar

Hospitality Group and Dongtai Investment group provided Michaal Udayan (“Udayan’) with

authority to operate and manage all spaces in the Hotel. However, the HAM naturally terminated

as per the agreement on March 4, 2019, two (2) years from the effective date as pointed out in

Section 5, Term, Termination and Default. As a result, after March 4, 2019, Michael Udayan, the

President of Ameristar Hospitality Group, no longer had the authority under the HMA to operate

and manage the spaces in the Hotel.




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       While Udayan may have authority as the court-appointed Receiver of the Hotel, (1) there

lacks a written contract between Campos and the Hotel for such work, as required by industry

standards; (2) there is a lack of evidence to show that the work was commissioned or necessary

for what Claimant claims; and (3) as per industry standard the cost for cleaning was not

reasonable.

                                         III
                 UNREASONABLE CHARGES FOR THE VALUE OF THE WORK DONE

       Campos claims that $500 per room for cleaning is a reasonable price and is industry

standard. Campos further provides a biased affidavit of Faramarz Salahshour, who is familiar

and has a working relationship with Campos that $500 a room for deep cleaning is more than

fair, as typically it costs $1,200 to $1,500 per room. However, the value for deep cleaning a

room is not such, and typically ranges between $100 to $150 per room in the Houston market.

See Exhibit 2, ¶ 8.

       Campos makes a claim that 243 rooms were deep cleaned, and provides an un-

countersigned invoice of such, which Campos failed to provide when previously requested,

creating doubt that such invoice existed until recently. Nevertheless, the evidence is to the

contrary.     Exhibit 5 to the Campos Affidavit in Campos’s response, is a text message between

Udayan and Campos. In the text exchange, Campos texts Udayan that only 150 rooms need to

be cleaned. Further the text message states nothing about getting a deep clean. In fact, Udayan in

his text message, states that “It’s not [a] full clean. Just remove mold if they see any. It does not

have to be spotless. It is already mostly clean.” See Docket Entry 211-3, p.13. Clearly, based on

the text message, Udayan’s explicit instructions to Campos, a deep clean is not necessary.

       Furthermore, Udayan writes the following regarding what areas and how many rooms to

clean: “Honestly if you just focus on 10 rooms or so on the corners where the water leak was it



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will be fine: 6 though 2 and ground floor it will be fine too.” Ultimately, Udayan states “that will

be about 50 rooms.” Id. Simply put, Campos was not given the order to clean 243 rooms, and

rather was asked to clean only fifty (50) rooms. Either way, based on the hotel industry standard,

the manuals and guidelines of the hospitality industry would not outsource deep cleaning or the

type of cleaning that was done for the Hotel here to a third party, like PCS. See Management

Manual, Exhibit 1. Given that only fifty (50) rooms needed light cleaning, this would be done by

the Hotel and if the work was outsourced to a third party then it would typically cost $5,000 to

$7,500, applying a cost of cleaning of $100 to $150 per room as is the typical practice. See

Exhibit 2, ¶ 8. Further, as per the standard practices of the hospitality industry would required a

written agreement and written consent of the hotel owner / manager. See Exhibit 2, ¶ 13.

         Expert witness Dilip Kanji reviewed documents and evidence pertaining to the claim and

finds that if a hotel is hiring an outside cleaning service company it would typically have

obtained several comparable quotes prior to selecting a third party. See Exhibit 2, ¶ 15. Kanji

also finds it “extremely unusual that there is no written contract, no written scope of work, nor

ongoing approval and sign-off on work accomplished. There appears to be only one invoice for

the work involved, no progressive draw requests for work completed to date (as typically

submitted by most contractors). There is also absolutely no reliable documentation for this

apparent verbal agreement which is not in the best interests of the Hotel or its owners.” See

Exhibit 2, ¶ 12. Additionally, the only written communication between Udayan and Campos

illustrates that Campos was requested to clean around 50 hotel rooms. See Docket Entry #211-3,

p. 13.

         Based on Kanji’s long professional experience he does not believe any responsible owner

or professional hotel management team would have contracted the subject work to a third party




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especially in a Covid pandemic environment where the focus on most hotels was to preserve

capital. See Exhibit 2,¶ 10. This is especially true had the work taken place while the hotel

operations were suspended, as they were in this case, and in Kanji’s opinion he also does not

believe such work would be contracted out to the director of maintenance for the hotel.

Typically such work would fall under the responsibility of the hotel’s maintenance department

and be done through hotel employees. “This is far more cost-effective and allows for closer and

more efficient supervision of the work in question.” See Exhibit 2, ¶ 10.

        As per the Hotel Management Manual of a hotel similar to that of Crown Royal, it states

that “each hotel must develop, implement and document a deep cleaning program. The program

must be designed to ensure that the hotel is maintained at a high level of cleanliness.” See

Exhibit 1, Hampton Inn Manual; Exhibit 2, ¶ 14. “This cleaning is done by the hotel staff and

maintenance team.” Exhibit 2, ¶ 14.

        Here, the cost per room is much too high, there is no written agreement evidencing the

request for a cleaning by a third party, and, at best, Udayan is requesting Campos clean fifty (50)

rooms as an employee of the Hotel. There is no authority that allows Udayan to outsource such

work, as the HMA has terminated and there is no written consent for such work from the

Plaintiffs.

                                               IV
                                      EVIDENTIARY CONCERNS

        Any evidence presented in a summary judgment proceeding must be properly

authenticated and admissible. Fed. R. Civ. P. 56(c)(1)(A); Law Co. v. Mohawk Constr. Supply

Co., 577 F.3d 1164, 1170 (10th Cir. 2009); Bias v. Moynihan, 508 F.3d 1212, 1224 (9th Cir. 2007).

Documentary evidence should be proved up by an affidavit or declaration authenticating such

evidence, sworn by a person with knowledge of the document. Las Vegas Sands v. Nehme, 632



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F.3d 526, 532-33 (9th Cir. 2011); Bias, 508 F.3d at 1224; Zoslaw v. MCA Distrib., 693 F.2d 870,

883 (9th Cir. 1982).

       Property Care Services LLC previously attempted to submit a confusing and

unauthenticated welter of documentation and photographs in support of its claim.            The

documents do not and cannot represent summary judgment evidence in this claim procedure.

While this is not a summary judgment proceeding, the Court has ordered that claim submission

evidentiary matters will be governed by summary judgment evidentiary standards.           “Any

evidence supporting such objection [or response to objection] should be submitted in the same

manner as that required under Fed. R. Civ. P. 56 practice.” Order to Establish Procedures to

Determine and/or Disallow Disputed Claims Against the Receivership, Docket Entry 192, p. 2-3.

Accordingly, evidence not proven up by affidavit or declaration cannot be considered as

evidence in support of the claim.

       Property Care Services LLC’s only properly authenticated evidence in support of its

claim are the affidavits and evidence attached to the affidavits in Docket Entry 211. In this

evidence, Claimant purports to show a before and after photograph of one hotel room, one un-

countersigned invoice, and a copy of a text exchange in which the former receiver, Mr. Michael

Udayan only asks for the cleaning of 50 hotel rooms, not over 200, as the Claimant seeks to

recover. The affidavits and evidence attached to the affidavits in Docket Entry 211 are the only

properly authenticated evidence submitted in support of Property Care Services LLC’s claim in

the amount of $153,823.00. They simply do not properly support the claim.

                                                  V
                                            CONCLUSION

       Campos lacks evidence to support his claim that he was given authority to conduct the

work through PCS for the value he is requesting. Based on the evidence, no written contractual



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agreement exists for the type of work as required by the hospitality industry standard and the

evidence only supports the cleaning of fifty (50) rooms at best. Typically the cost for cleaning a

room would be $100 to $150. However this type of work would be done by the Hotel by and

under the chief maintenance employee or Director of Engineering. Here, Campos was not acting

within his scope of employment, the agreement to contracting work out to Campos through

Property Care Services LLC was not authorized and therefore the Claim should be objected.

       WHEREFORE, premises considered, Plaintiffs respectfully pray that the Court disallow

the Claim filed by the Property Care Services LLC, or in the alternative, limit the amount of the

claim to $7,500, the fair market value of same. Plaintiffs pray for all other relief, either at law or

in equity, to which they may be justly entitled.


                                                      Respectfully submitted,



                                                      /s/ Stacey L. Barnes
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                                  CERTIFICATE OF SERVICE

I hereby certify that on the 15th day of May, 2023, I served a true and correct copy of the
foregoing pursuant to Rule 5 of the Federal Rules of Civil Procedure, via the CM/ECF system
and/or electronic mail and/or by depositing in the United States Mail, postage prepaid and
properly addressed to all known counsel of record.



                                                  /s/ Stacey L. Barnes
                                                  Stacey L. Barnes




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